Case 2:20-bk-21020-BR         Doc 270 Filed 10/19/21 Entered 10/19/21 15:18:47              Desc
                               Main Document     Page 1 of 5

  1 TIMOTHY J. YOO (SBN 155531)
      tjy@lnbyb.com
  2 CARMELA T. PAGAY (SBN 195603)
      ctp@lnbyb.com
  3 LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
    2818 La Cienega Avenue
  4 Los Angeles, California 90034
    Telephone: (310) 229-1234
  5 Facsimile: (310) 229-1244
  6 Attorneys for Jason M. Rund
      Chapter 7 Trustee
  7
  8                            UNITED STATES BANKRUPTCY COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
                                        LOS ANGELES DIVISION
 11
       In re                                              Case No. 2:20-bk-21020-BR
 12
       THOMAS VINCENT GIRARDI,                            Chapter 7
 13
                                                          CHAPTER 7 TRUSTEE’S LIMITED
 14                                    Debtor.            OPPOSITION TO EDELSON PC’S
                                                          MOTION FOR RELIEF FROM STAY
 15
                                                          Date: November 2, 2021
 16                                                       Time: 10:00 a.m.
                                                          Place: Courtroom 1668
 17                                                              U.S. Bankruptcy Court
                                                                 255 E. Temple Street
 18                                                              Los Angeles, California
 19
 20
 21
 22 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY
 23 JUDGE, MOVANT EDELSON PC AND ALL PARTIES IN INTEREST:
 24            Jason M. Rund, the Chapter 7 trustee (“Trustee”) for the bankruptcy estate of Thomas
 25 Vincent Girardi (“Debtor”), respectfully submits this Limited Opposition to the Motion for
 26 Relief from the Automatic Stay Under 11 U.S.C. § 362 (Action in Nonbankruptcy Forum) (the
 27 "Motion") filed by Edelson PC ("Edelson") [Doc 258].
 28

                                                      1
Case 2:20-bk-21020-BR        Doc 270 Filed 10/19/21 Entered 10/19/21 15:18:47                  Desc
                              Main Document     Page 2 of 5

  1          In its request for relief on Page 4 of the Motion, Edelson clearly acknowledges, “the

  2 stay remains in effect with respect to enforcement of any judgment against the Debtor or
  3 property of the Debtor’s bankruptcy estate.” As such, the Trustee has no objection to Edelson
  4 proceeding against Erika Girardi conditioned on this Court’s order stating very clearly that this
  5 Court retains exclusive jurisdiction to determine whether an asset [being pursued by Edelson] is
  6 property of the Debtor’s estate and, to the extent that such asset is determined by this Court in
  7 the future to be an estate asset, Edelson shall cease all collection efforts with respect to such
  8 asset and instead provide the Trustee with all evidence relating to the asset.
  9
 10 DATED: October 19, 2021                        LEVENE, NEALE, BENDER, YOO
                                                   & BRILL L.L.P.
 11
                                                   By:     /s/ Timothy J. Yoo
 12                                                        TIMOTHY J. YOO
 13                                                       CARMELA T. PAGAY
                                                       Attorneys for Jason M. Rund
 14                                                          Chapter 7 Trustee

 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                       2
Case 2:20-bk-21020-BR                Doc 270 Filed 10/19/21 Entered 10/19/21 15:18:47                                       Desc
                                      Main Document     Page 3 of 5

  1
                                    PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

      A true and correct copy of the foregoing document entitled CHAPTER 7 TRUSTEE’S LIMITED
  4   OPPOSITION TO EDELSON PC’S MOTION FOR RELIEF FROM STAY will be served or was served
      (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
  5   stated below:
  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On October 19, 2021, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
  8   to receive NEF transmission at the email addresses stated below:

  9            Rafey Balabanian rbalabanian@edelson.com, docket@edelson.com
               Shraddha Bharatia notices@becket-lee.com
 10            Ori S Blumenfeld ori@marguliesfaithlaw.com,
                Helen@MarguliesFaithLaw.com;Angela@MarguliesFaithLaw.com;Vicky@MarguliesFaithL
 11             aw.com
               Evan C Borges eborges@ggtriallaw.com, cwinsten@ggtriallaw.com
 12            Richard D Buckley richard.buckley@arentfox.com
               Marie E Christiansen mchristiansen@vedderprice.com,
 13             ecfladocket@vedderprice.com,marie-christiansen-4166@ecf.pacerpro.com
               Jennifer Witherell Crastz jcrastz@hrhlaw.com
 14            Ashleigh A Danker Ashleigh.danker@dinsmore.com,
                SDCMLFiles@DINSMORE.COM;Katrice.ortiz@dinsmore.com
 15            Clifford S Davidson csdavidson@swlaw.com, jlanglois@swlaw.com;cliff-davidson-
                7586@ecf.pacerpro.com
 16            Joseph C Delmotte ecfcacb@aldridgepite.com,
                JCD@ecf.inforuptcy.com;jdelmotte@aldridgepite.com
 17            Lei Lei Wang Ekvall lekvall@swelawfirm.com,
                lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
 18            Timothy W Evanston tevanston@swelawfirm.com,
                gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
 19            Jeremy Faith Jeremy@MarguliesFaithlaw.com,
                Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com;Vicky@MarguliesFaithla
 20             w.com
               James J Finsten , jimfinsten@hotmail.com
 21            James J Finsten jfinsten@lurie-zepeda.com, jimfinsten@hotmail.com
               Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
 22             lawyers.net,addy.flores@flpllp.com
               Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
 23            Andrew Goodman agoodman@andyglaw.com,
                Goodman.AndrewR102467@notify.bestcase.com
 24            M. Jonathan Hayes jhayes@rhmfirm.com,
                roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;r
 25             uss@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosari
                o@rhmfirm.com
 26            Marshall J Hogan mhogan@swlaw.com, knestuk@swlaw.com
               Bradford G Hughes bhughes@Clarkhill.com, mdelosreyes@clarkhill.com
 27            Razmig Izakelian razmigizakelian@quinnemanuel.com
               Lewis R Landau Lew@Landaunet.com
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 2:20-bk-21020-BR                Doc 270 Filed 10/19/21 Entered 10/19/21 15:18:47                                       Desc
                                      Main Document     Page 4 of 5
               Craig G Margulies Craig@MarguliesFaithlaw.com,
  1             Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithla
                w.com
  2            Peter J Mastan peter.mastan@dinsmore.com,
                SDCMLFiles@dinsmore.com;Katrice.ortiz@dinsmore.com
  3            Edith R. Matthai ematthai@romalaw.com, lrobie@romalaw.com
               Elissa Miller emiller@sulmeyerlaw.com,
  4             emillersk@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
               Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
  5            Scott H Olson solson@vedderprice.com, scott-olson-
                2161@ecf.pacerpro.com,ecfsfdocket@vedderprice.com,nortega@vedderprice.com
  6            Carmela Pagay ctp@lnbyb.com
               Ambrish B Patel apatelEI@americaninfosource.com
  7            Leonard Pena lpena@penalaw.com,
                penasomaecf@gmail.com;penalr72746@notify.bestcase.com
  8            Michael J Quinn mquinn@vedderprice.com, ecfladocket@vedderprice.com,michael-
                quinn-2870@ecf.pacerpro.com
  9            Matthew D. Resnik matt@rhmfirm.com,
                roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;pri
 10             scilla@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;davi
                d@rhmfirm.com;sloan@rhmfirm.com
 11            Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com
               Kevin C Ronk Kevin@portilloronk.com, Attorneys@portilloronk.com
 12            Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.axosfs.com
               William F Savino wsavino@woodsoviatt.com, lherald@woodsoviatt.com
 13            Gary A Starre gastarre@gmail.com, mmoonniiee@gmail.com
               Richard P Steelman rps@lnbyg.com, john@lnbyb.com
 14            Philip E Strok pstrok@swelawfirm.com,
                gcruz@swelawfirm.com;1garrett@swelawfirm.com;jchung@swelawfirm.com
 15            Boris Treyzon bt@treyzon.com, sgonzales@actslaw.com
               United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 16            Christopher K.S. Wong christopher.wong@arentfox.com, yvonne.li@arentfox.com
               Timothy J Yoo tjy@lnbyb.com
 17
 18   2. SERVED BY UNITED STATES MAIL: On October 19, 2021, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 19   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 20   completed no later than 24 hours after the document is filed.

 21
      None.
 22
                                                                              Service information continued on attached page
 23
 24
 25
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 2:20-bk-21020-BR                Doc 270 Filed 10/19/21 Entered 10/19/21 15:18:47                                       Desc
                                      Main Document     Page 5 of 5

  1   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
  2   on October 19, 2021, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
  3   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
  4
      None.
  5
  6   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  7
       October 19, 2021                     Stephanie Reichert                           /s/ Stephanie Reichert
  8    Date                                 Type Name                                    Signature

  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
